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USDC. BALTII'IORE
 '22 JUN ? px3:24                                                           April22-2022

             Laura Abelson, lisq.
             Office ofthe Federal Public l)efender
             100 S. Charles Street
             Tower Il. 9'h Floor
             Baltimore. MD 21201

                       Re: [-lnitcd States v. l]arak Olds. ('rirn. No. .lKI]-l l-208

             [)ear Counscl

                     This letter. together \\,ith thc Sealed Supplcmcnl. conllnns the plea agreement (this
             "Agreement") thal has been ot'fered to your client. llarak Olds (hcreinat'ter "[)r'l-cndant"). by the
             Llnited States Atlorne)''s Olfice for thc I)istrict of' Marl land ("rhis Oftice"). lf the Del'endanr
             acccpts this oller. please havc the Del'endant executc it in the spaccs provided bclorv. Ifthis ofl'er
             has not been accepted by March 4. 2022, it will be deemcd withdrawn. The terrns olthe Agreement
             are as fbllows:

                                                        Oll cnsc(s ) of'('orrr ict ion

                           'fhe Dettndant agrees ltl plead guilty to flount One ol the Indictment, which
                          l.
            charges the De l'endant with Possession ol'a F irearm and Ammunition by a Prohibited Person in
            violation of l8 Ll.S.C. $ 922(g)( l). Thc [)cl'endant admits rhar thc l)cl'endant is. in l-acr. guiltl of
            the olfense and u'ill so adl ise the Coun.

                                                       Elemqnts ol the O II'cnsc(s)

                    2. l'he elements of'the ol'1'ense to which the Det'endant has agreed to plead guilty. and
            which this Olllcc would prove if the case uent to trial. are as fbllows: That on or about the time
            alleged in the lndictment. in the District ol Maryland:




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                a   The Defendant knou'ingly possessed a firearm and ammunition. as that term is
                    defined in I 8 LI.S.C. {\ 921(aX3):

                b. The Def'endant had becn convicted ofa crime punishablc by imprisonment for a
                    term exceeding one ycar, his civil rights had not been restored. and he had
                    knowledge of this status; and

                c. I'he ll rearm and ammunition aflected interstate conrmcrcc.
                                                         l)enalties

           3.       The maximum penalties provided by statute lor the oflense(s) to which the
Det'endant is pleading guilty are as lbllows:


 ('ou nt
                                 Minimum                Max imum         Supen ised     Max imum       Special
                Statute
                                   Prison                 Prison          Release          Ir ine    Assessment   I



    I       l8 u.s.c.            L1 years it'        l0 ycars (or life   3 years        1i250.0(x)     $r00
                $ e22(e)       found to bc an        imprisonmcnt if
                               Armed Clareer          lbund to be an
                                Criminal: no          Armcd Clarcer
                                minimurn il             (.riminal)
                                 not Armed
                           I

                                   C areer
                                 Criminal

                    a.  Prison: lf the Coun orders a term ol imprisonmenl, lhc Bureau of Prisons
has sole discretion to designate the institution at which it will be servcd.

               b. Superviscd Rclcasc: Il'the Court orders a term ol'supervised release. and
the Del'endant violates the conditions ol'supervised release, the Coun may order the Defendant
returned to custody to servc a term ol'imprisonment as permitted by statute, fbllowed by an
additional term of supervised releasc.
                                             -l'he
                    c.Restitution:    Court may order the Defendant to pay restitution pursuant
lo l8 U.S.C. $$ 3663. 3663A. and 3664.

                    d.         Payme nt: lf a llne or restitution is imposed. it shall be payable immediately.
                                                                          -l-he
unless the Court orders other$ ise undcr l 8 L,.S.C.             l 3572(d).         Def'endant may be required to
pay interest if the t'ine is not paid when due.

                    e. Forleiture: 'l'he Court may enter an order of lorl-eiture ofassets directly
traceable to lhe of'fense. substitute assels. and/or a money judgment equal to the value of the
property subject to forl-eiture.

                f'.    Collection ol'Dcbts: Il'the Court imposes a llnc or rcstitution. this Olfice's
Financial I-itigation Unit will bc rcsponsihlc lbr collecting the dcbt. II'thc ('ourt establishes a

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schcdulc ol'pa)mcnts. thc Del-endant agrees thal: ( I ) thc lull anrount ol thc fine or restitution is
nonethcless due and ou'ing immediately: (2) the schedulc ol'pavments is merely a minimum
schcdule ol'palments and not the onll- method. nor a limitation on the methods. available to the
tJnited States 10 cnfi)rce the.iudgmentl and (3) the []nitcd Statcs mav lulll emplo] all powers to
collect on thc total amount of the debt as prolided b1 law. L.lntil the debt is paid. the Defendant
agrees to disclose all assets in which the Deltndant has an) intcrcst or over *hich the Del'endant
exerciscs dircct or indirect control. Until the money judgmcnt is satisfied. the Defendant
authorizcs this Olfice to obtain a credit report in order to cvaluatc thc Del'endant's ability to pay.
and to requcst and revie*'the Del'endant's t'ederal and state income tax returns. The Defendant
agrecs to complcte and sign a copy of IRS Form 8821 (relating to thc voluntary disclosure of
f'edcral tax return infbrmation) and a financial statement in a lilrm provided by this Office.

                                          Waive r ol'Rights

        4.     Thc Dcf'cndant understands that by entering into this Agreement, the f)efendant
surrendcrs certain rights as outlined below:

                    a.  lf'the Def'endant had pled not guilty and persisted in that plea. the Defendant
would have had the right to a speedy jury trial *ith the closc assistance of competent counsel.
'I'hat trial could be conducted by ajudge. without a.jur1'. il'thc Del'endant. this Office. and the
Court all agreed.

                    b.    lf the Delendant elected a.jur.v- trial. thc jurl uould be composed of twelve
 individLrals sclected tiorn the communit)'. Counsel and the [)el'cndant uould have the opponunity
 to challengc prospective jurors who demonstrated bias or who ucrc otherwise unqualified. and
 would have the opponunil). to strike a certain number of'.jurors percmptorily. All t*elve jurors
 would have to agree unanimously before the Delendant could bc fbund guilty ofany count. The
jury would be instructed that the Defendant was presumed to be innocent. and that presumption
could be' ovcrcomc only by proof beyond a reasonable doubt.

                    c.   Ilthe Deftndant went to trial. the (iovclnmcnt would have the burden of
proving the l)elendant guilty beyond a reasonablc doubt. 'l he l)el'cndant would have the right to
conliont and cross-examine the Covernment's u'itncsses. lhe I)elcndant would nol have to
present any dcl'cnsc witnesses or evidence whatsocvcr. ll'the [)cl'cndant wantcd to call witnesses
in del'ense. hou,ever. the Delendant would havc the subpoena powcr of the Court to compel the
wilncsscs to attcnd.

                    d. l'he Def'endant would have the right to tcstil)' in thc Del'endant's own
detLnse it'the [)cl]ndant so chose. and the Defendarrt uould have the right to rellse to testify. lf
the Dc'l'endant chose not to testif). the Court could instruct the.iur)' that the,v- could not draw any
advcrsc inlerence tiom the Defendant's decision nol lo lcstify.

               e. ll thc Defbndant were lbund guilty alier a trial. thc Det'cndant would have
thc right to appcal the verdict and the Court's pretrial and trial decisions on the admissibility of
evidcnce to sce if any errors were committed which would rcquire a ncrv trial or dismissal ol-the



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charges. By pleading guilty. the Defendant knowingly'gives up the right to appeal the verdict and
the Court's dcc isions.

                   l'. By plcading guilty, thc Defendant will be giving up all ol these rights.
except the right. under the limited circumstances sel fbrlh in the "Waiver of Appeal" paragraph
below. to appeal the sentence. By pleading guilty. thc Det'endant understands that the Defendant
may have to answer the Court's questions both about the rights being given up and about the t'acts
ol'thc case. Any statements that the [)clendant makes during such a hearing would not be
admissible against the Del'endant during a trial except in a criminal proceeding lbr perjury or f'alse
statcment.

                   g.   If the Court accepts the Defendant's plea of'guilty. the Dctendant will bc
giving up the right to file and have the Court rule on pretrial motions. and there will be no fu(hcr
trial or procecding of any kind in the above-referenced criminal case. and the Coun will find the
Del'endant guiltl.

                   h.    By plcading guilty. the Def'endant will also be giving up ce(ain valuable
c iv il rights and rnay be subject to deporlat   ion or other loss ol'imm igration status, inc luding possiblc
denaluralization.'l'heDef'cndantrecognizesthatil'theDefendantisnotacitizcnoltheUnitcd
States, or is a naturalized citizen. pleading guilty mal have consequences with respect to thc
Det'endant's immigration status. Under lederal law. conviction fbr a broad rangc of crimes can
lcad Io adverse immigration consequences. including automatic removal from thc lJnited States.
Removal and other immigration consequcnces are the sub.iect of a separate proceeding. howevcr.
and the Defendant understands that no one. including thc Def'endant's altome\ or lhe Coun. can
prcdict u'ith ccrtaint)' the elflct of a conviction on immigration status. The Dcl'cndant is not
relying on any promise or belielabout thc imrnigration consequenccs olpleading guilty. Ihc
Dct'endant nevcrthclcss alllrms thal the Dcl.endant wants to plead guilty regardless ol'anv potential
immigration conscquences.

                                 Adv isory Scntencinq (iuidclincs Applt'

        5.      'l'hc Def'cndant understands thal the Coun will determine a sentcncing guidelincs
range for this case (hencelorth the "advisorl guidelines range") pursuant to the Scntencing Relorm
Act of 1984 al I8 U.S.C. $ 3551-3742 (crcepting l8 (l.S.C. s\ 3553(bXl)and 3742(e)) and
28 U.S.C. $$ 991 through 998. The DelLndant fu(her understands that the Court will impose a
sentence pursuant to the Sentencing Relbrm Act. as excised, and must takc into account the
advisory guidelines range in establishing a reasonablc sentence.

                              Iractua l aqd Adv:iserr Gutd!!ir!!j!!p!!

        6.    I'his Olfice and the Defendant stipulate and agree 1tl the Statement olFacts set lbrth
in Attachment A. which is incorporated by rcference herr.'in.

                   a.  This Ol'lice and the [)efendant lurther agree that the applicable base offense
level is 20 pursuant to United States Scntcncing Guidclincs C'U.S.S.(i.") QQ 2K2. l(a)(4) becausc


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thc Delendant committed the instant olfcnse subsequent to sustaining a felony conviction tbr a
conlrol led substance ol'fense.

                b. This Olllce docs not oppose a 2-level reduction in the l)clendant's ad.justed
oll'ensc level pursuant to tJ.S.S.(;. rr 3lrl.l(a) based upon lhe Delendant's apparcnt prompt
rccognition and affirmative acceptance ol'personal responsibility lor the Delendant's criminal
conduct. 'fhis Olfice agrees to makc a motion pursuant to U.S.S.C. fi 3tl I . l(b) firr an additional
l-level decrease in recognition ol'the Det'cndant's timely notification ol'the [)cl'endant's intention
to entcr a plea of guilty. This Otllcc may opposc any adjustment for acceptancc ol' rcsponsibility
undcr Ll.S.S.G. $ 3E l.l(a), and may decline to make a motion pursuant to U.S.S.G. $ lE l.l(b), ii
the Deftndant: (i) l'ails to admit each and every item in the t'actual stipulation: (ii) dcnies
involvenrent in the offense: (iii) gives conllicting statements about thc Detcndant's involvement
in thc oUtnse: (iv) is untruthf'ul u'ith the Court. this Olllce. or the LJnited States Probation OlUccl
(\') obstructs or attempts to obstruct _iu\ticc prior t() sentencing: (vi) engagcs in any criminal
conduct belween the date of this Agreement and the date ofsentencing: (\'ii) attempts to uithdrau
the plca of guilty: or (v iii) violates this Agrcemcnt in any'way.

                    The parties anticipale that thc llnal o{l'ense level uill be l7

        7.     l-here is no agreement as to thc [)el'endant's criminal history and the [)et'endant
undcrstands that the Defendant's crinrinal historv could alter the Delendant's oll'ense levcl.

        8.       Other than as set fbrth abovc. no othcr ol'tense characterislics. scntcncing guidelines
l'actors. potential departures or adjustmcnts set fbrth in the Llnited States Sentcncing (iuidelines
are in dispute or will be raised in calculating thc advisory guidelines rangc.

                               Rule I l(cX lXtl) Joint Recommendation Plea

         9. At the time of sentencing. the panies agree a sentence ol37 months' incarceration
is the appropriate sentence in consideration ofthc I)ef'endant's criminal histor). thc circumstances
o1'the case and the lactors ol I 8 Ll.S.C. \ 3553(a). The parties agree to recomrnend a sentence of
37 rnonths' incarceration to the Courl at the time ofsentencing. The panies lurthcr agrce to argue
fbr a rcasonable period ofsupervised relcasc. and/or linc considering any appropriatc l'actors under
 l8 tl.S.C. { 3553(a). This Oftice and thc l)ct'cndant reserve the right to bring to the Court's
attention all infbrmation with rcspcct to the Del'endant's background. charactcr. and conduct that
this OIIce or the Del'endant deem relevant to sentencing. including the conduct that is the subject
of the count in the lndictment. At thc timc of sentencing, this Office will movc to dismiss any
open counts against the Deftndant.

                                                  Wair cr of'Arrrreal

        10. In exchange for the concessions made by this Ollice and the Delendant in this
Agreement. this Office and the Del'endant raive thcir rights to appeal as tbllows:

                    a. The Def'endant knowingly'uaives all right. pursuant to 2lJ tl.S.C. $ l29l or
any other statute or constitutional provision. to appeal the Defendant's conviction on any ground


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whatsoever. This includes a waivcr ol'all right to appeal the Delendant's conviction on the ground
that thi: statute(s) to *hich the Delendant is plcading quiltv is unconstitutional. or on the ground
that the admitted conduct does not l'all within the scope of the statutels), to thc extent that such
challenges legally can be waived.
                            .l
                     b.   he Del'endant and this Otllcc knorvingly and cxpressly waive all rights
conlcrred by l8 U.S.C. N 37.12 to appeal u'halevcr sentence is imposed (including any term ol'
imprisonment, fine, term of supervised release. or order of rcstitution) lor any rcason (including
the establishment ol' the advisory sentencing guidelines range. the detcrmination ol' the
Dcfendant's criminal history. the wcighing ol the sentencing lactors. and any constitutional
challcnges to the calcu lation and imposition of any tcrm of imprisonme nI. fine. ordcr ol'lbrfeiture .
order of restitution. and term or condition of superviscd release).

                     c.  lhe Det'endant rvaives anl and all rights undcr the Freedom ol'lnlbrmation
Act rclating to thc investigation and prosecution ol'the above-captioncd matter and agrees not to
lile any request firr documents liom this Office or any investigating agency.

                                                   Forl'citLrrc

         I   l.      Thc Dcf'cndant understands that the C'ourt may ente r an Order ol'lforl'eiture as part
ofthe Dcl'endant's ssntence. and that the Order ol'[.'ort'eiture may include assels directly traceablc
to thc offense(s). substitule assets. and/or a mone).iudgment equal to the valuc ofthe property
derivcd liom. or othcru ise involved in- the offenses.

         12. Specilically, but without lirnitation on the (iovernment's right to lbrl'eit all propeny
subjcct to forf'eiture as permitted by law. the Defcndant agrees to lbrl'eit to thc United States all ol'
the [)eltndant's right. title. and interest in the lollou'ing ilcms that thc Del'endant agrccs constitutc
money. properl). and/or assets derived from or obtained by'the Del'cndant as a result ol. or used
to lacilitate the commission of'. the [)et'endant's illegal activities:

    o A Clock 27, .40 caliber handgun. bearing serial number WAC955:
    . Irive canridges ol'Federal ammunition: and,
    o lrour canridgcs ol llornadl arnrnunition.
         13. T'he l)eftndant agrees to consent to the entry oforders oflbrfeiturc fbr thc propcrty
described herein and rvaives the rc'qu irements of Fcdcral Rules ol'Crim inal Procedure I I (b)( I X J ).
32.2. and 43(a) regarding noticc ol'the tbrfeiture in the charging instrumenl. advice regarding
fbrleiturc during thc change of plca hearing. announcement of thc lbrt'eiture at scntcncing, and
incorporation of the lbrleiture in thc.iudgment.

         l,+.     Thc l)cl'endant agrccs to assist l'ully in the forl'eiture of the abovc property. The
Defi:ndant agrees to disclose all asscts and sources ol'income, to conscnt to all requcsts for access
to information related to assets and income. and to takc all steps nccessary to pass clear title to the
fortiitcd assels to the United States. inclLrding executing all documents necessary to transler such
title. assisting in bringing any asscts locatcd outsidc ol'the United States u ithin thc.jurisdiction ot'


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the United States. and taking whatevor steps are necessar)'to ensurc thal assets subject to fbrf'eiture
are made available fbr fbrf'eiture.

       15. The Delendant waives all challenges to any torltiturc carried out in accordancc
with this Agreement on any grounds, including any and all constitutional. Iegal, equitablc,
statutory, or administrativc grounds brought by any means, inc luding through direct appeal. habeas
corpus petition, or civil complaint.
                                        '[hc [)cf'endant u'ill not challcnge or seck review ofany civil
or administrative forl'eiture ol'any propcrty subject to lbrleiturc under this Agreement. and will
not assisl any third partl' n'ith any challenge or revierv or any pctition firr rcmission of lbrf'eiturc.

                            I)clendant's ('onduct Prior to Scntcncirrg and Ilrcach

        16.      Between now and thc datc of the sentencinq. thc Del'endant will not engage in
conduct that constitutes obstruction ot'.iustice under U.S.S.C. S   l('l.l:
                                                                         rvill not violate any f'ederal.
state. or local lawl will acknowlcdge guilt to the probation ol'llccr and thc Courti will be truthf'ul
in any statement to the Courl, this OIIcc. law enforcerrent agcnts. and probation officers: r.l'ill
cooperate in the preparation of the presentence report: and will not move to withdraw liom the
plea ol'guilty or from this Agrccment.

        17.     lf the Det'endant cngages in conduct prior to scntencing that violates the above
paragraph olthis Agreemenl. and the Clourt finds a violation b1 a prcponderance ofthe evidence.
then: (i) this Office will be licc liom its obligations under this Aqreemcnt: (ii) this Oflice may
rnake sentencing arguments and recommendations dif-ferent liom those sL't out in this Agreement.
even if the Agreement was reachcd pursuant to Rule I l(cX I XC): and (iii) in an1 criminal or civil
proceeding. this Olllce u'ill bc lice to use against the Dct'cndant all statements made b1' the
Def'endant and any' of' the inlirrmation or materials providcd by thc Defendant. including
statcments. infbrmation. and matcrials provided pursuant to lhis Agrccrncnt. and statements madc
during proceedings betbre thc Court pursuant to Rule I I ol' thc Federal Rules of Criminal
Procedure. A determination that this Otlice is released lrom its obligations under this Agreemcnt
will not permit the Del'endant to withdraw the guilty plea. 1-he Del'cndant acknowledges that the
l)efendant may nol withdraw the Dcfendant's guilty plea- cven il' made pursuant to Rulc
I l(cX I XC)-if the Court llnds rhat the Def'endant breachcd thc Agrccmcnt. In that event. neither
the Court nor the Government *ill be hound by the spccific scntcncc or sentencing range agrecd
and stipulated to herein pursuant to Rulc I l(cXl XC).

                                           ('oun Not a Partr

        18. The Court is not a party to this Agreement. 'fhe scntcnce to be imposed is u'ithin
thc sole discretion of the Court. 'l hc C ourt is not bound by thc Scntcncing Guidelines stipulation
in this Agreement. l'hc Court will detcrmine the lacts relcvant to sentcncing. The Court is not
required to accept any recommendation or stipulation of the partics. I he Cou( has the powcr to
irnpose a sentence up to the maximum penalty allowed by law. ll'thc Court makes sentencing
findings diflerent liom those slipulatcd in this Agreement. or if thc Court imposes any sentence up
to the maximum allor,'cd by statute . the Delendant will rcmain bound to tirlllll all of the obligations
under this Agreemenl. Neithcr thc prosecutor. defense counsel. nor thc Coun can make a binding



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prediction, promisc, or representation as to what guidclincs rangc or senlencc thc l)clbndant will
receive. l-he [)cl'cndant agrees that no onc lras made such a binding prediction or promise.

                                            lrntirc Asrce mcnt

         19. Ihis letter. togethcr $'ith the Sealed Supplcnrcnt. constitutcs the cornplete plea
agreement in this case. This letter. together $ith the Scalcd Supplcment. supersedcs any prior
                                                                                 'l
understandings. promises, or conditions between this Ollicc and thc Defendant. hcrc are no other
agreements. promises, undertakings, or undcrstandings bctwcen the Defendant and this Office
other than those set lbnh in this letter and the Sealed Supplcrnent. No changcs to this Agreement
will be effectivc unless in writing, signcd bv all parties and approved by the Court.

       Ifthe Dcfbndant lully accepts each and every term and condition ofthis Agrcement. please
sign and have the l)efendant sign the original and return it to mc promptlv.

                                                     Very truly yours.

                                                     Ere k L. Ilarron
                                                     [-lnited Slatcs Attorne )


                                                       tricia Mcl-anc
                                                      ssistant IJnited States Attorncv


        I have read this Agreement. including the Sealed Supplcrrcnt, and carelully revioved every
part ol it with my attorney. I undcrsland it and I voluntarily agrec to it. Spccilicalll,. I have
reviewed the l]actual and Advisory Guidclines Stipulation $ith m] attorne\ and I do not wish to
change any part ol'it. I am completcll satislled rl'ith the rcprcscntation of my attornel .


       r6 L1-                               OciwL otrl
I)a                                          Ilarak Olds

        Iam thc [)ef'endant's attorney. Ihave carel'ully revie*ed every part ol'this Agreement.
including thc Scalcd Supplement u'ith thc Defendant. I-hc Defendant adviscs mc that the
Delendant understands and accepts its terms. 'Io m1'knowlcdge. the Def'endant's decision to enter
into this Agrecment is an informed and voluntarl one.




#@                                           Laura   be lson. lrsq




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                                         A'TTACHMENT A

                                    STI PTJI,ATION OT- FACTS

          The undcrsigned perlies sti)ulutc urul agrea lhat i/ this cuse had pntcce<led b lriul, this
()lfic'e would hovc proven the.lblloting.fitcts heyontl u rcusonabla rktuht. Tfu urulersignad purties
al.\o stipulale and agree thut the.follov'ing lacts do not encompuss all oJ tha ct,idence that would
huve been pre.santed had thi.r malter proc'acded to lriol.

        On the morning of'December 25. 2020, the Flaltimore ('ity Police Dcpartment (BPD)
                                                                           'l
rece ived a 9l I call from a residence on Flierman Avenue in Baltimore. MD. he officers arrived
at the scene. knocked on the door. and waited for a response.

        Unbcknownst to thc olllcers. Delendant Barak Olds *as in the apartment next door arguing
with a transgcnder lemalc (thc "Victim") *hom he had recently'met. Mr. Olds and thc Victim
began to arguc over money. During thc argument, Mr. Olds pullcd a handgun tiom his waistband
and brandished it at the Victim. However. Mr. Olds stopped when he heard thc of'ficers knocking
next door. Mr. Olds then walked out of'thc front door and past thc olllcers.

          Seconds later, the Victim opencd the door and told the ofllccrs that Mr. Olds had a gun.
'l hc officers told Mr. Olds to stop; however. he began to flee. As otficers chased Mr. Olds. he
slipped and l'cll next to a u'hite To1'ota van. He bcgan to run again but was apprehendcd by the
of'licers shortly tlrereaf'ter. Olllcers then rccovered a Glock 27. ..10 caliber handgun. bearing serial
no. WAG955. on the ground where Mr. Olds had l'allen next to thc \.rhite Toyota van.

       The UPD Lab deterrnined that the Del-endant's DNA was lbund on the handgun. The
handgun was tcst-tired and lbund to bc operable lhereby meeting the dellnition of a llrcarm
pursuant to l8 LJ.S.C. d 921. Likewise. the ammunition was cxamined and dctermined to also
meet the dellnition olammunition undcr l8 U.S.C. $ 921. Thc Det'endant agrees he knowingly
possessed the lirearm and the ammunition. The l)ct'endant also agrees that the firearrn and
ammunition hc possesscd on Decembcr 25.2020 al}'ected intcrstate commcrcc as they were
manuflctured outside ol thc State of Marl land.

        Prior to possessing the firearm and ammunition on December 25,2020. the Del'cndant
agrees that he had been convicted of a crime punishable by imprisonment lbr a lerm excccding
one year. his civil rights had not been restored. and he had knowledge ol this status when he
possessed the tlrearm.

        All events occurrcd in the District of Marvland.




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        SO S'l lI'tIl-A I'l:l):

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                                   Assistant United States Anomev




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                                    Barak Olds
                                    Del'endant




                                    Laura Abelson. Esq.
                                    Counsel fbr Def'endant




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